Case 2:22-cv-00294-JRG Document 151 Filed 07/11/24 Page 1 of 4 PageID #: 8083




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


 NETLIST, INC.,                                    §
                                                   §
                     Plaintiff,                    §
                                                   §
 v.                                                §   CIVIL ACTION NO. 2:22-CV-00294-JRG
                                                   §
 MICRON TECHNOLOGY, INC., et al.                   §
                                                   §
                     Defendants.                   §
                                                   §


                                       FINAL JUDGMENT

        A jury trial commenced in this case on May 20, 2024. On May 23, 2024, the jury returned

a unanimous verdict (Dkt. No. 135) finding that Defendants Micron Technology, Inc., Micron

Semiconductor Products, Inc., and Micron Technology Texas LLC (collectively, “Micron”)

infringed at least one claim of each patent asserted by Netlist, Inc. (“Netlist”), such claims being

Claim 16 of U.S. Patent No. 7,619,912 (the “’912 Patent”) and Claims 1, 2, 8, 11, 12, 13, and 14

of U.S. Patent No. 11,093,417 (the “’417 Patent”) (collectively, the “Asserted Claims”); that such

infringement was willful; and that Netlist should recover from Micron $425,000,000.00 for

infringement of the ’912 Patent and $20,000,000.00 for infringement of the ’417 Patent through

the date of trial.

        In Micron’s notices concerning its invalidity and equitable defenses (Dkt. Nos. 106 and

123), Micron has stipulated that it is no longer pursuing any of its previously raised invalidity and

equitable defenses. In light of these stipulations and the jury’s verdict, the Court finds that a Final

Judgment in the case should be and hereby is entered based on the jury’s verdict.
Case 2:22-cv-00294-JRG Document 151 Filed 07/11/24 Page 2 of 4 PageID #: 8084




       On May 30, 2024, Netlist filed an opposed Motion Requesting Entry of Final Judgment.

(Dkt. No. 142.) Micron opposes the entry of Final Judgment. (Dkt. No. 147.) Micron argues that

Netlist’s motion is premature and unwarranted because Netlist did not include a proposed form of

judgement in a separate document. (Id.) Further, Micron notes that the IPR of the ’417 Patent is

still pending with the PTAB’s decision expected in August 2024. (Id.) Micron argues that the Court

should wait to enter judgment until the PTAB’s decision issues so that the “full record” may be

presented to the Federal Circuit all at the same time. (Id.) Further, Micron argues that Netlist is not

entitled to prejudgment interest because Netlist did not propose any form of judgment and because

Netlist exhibited undue delay in bringing its infringement suit. (Id. at 6-12.) The Court finds that

none of these are an appropriate basis to withhold entry of final judgment. The Motion Requesting

Entry of Final Judgment (Dkt. No. 142) is GRANTED hereby.

       Pursuant to Rule 58 of the Federal Rules of Civil Procedure and in accordance with the

jury’s unanimous verdict, the Court hereby ORDERS and ENTERS JUDGMENT as follows:

       1. Micron has infringed Claim 16 of the ’912 Patent;

       2. Micron has infringed one or more of Claims 1, 2, 8, 11, 12, 13, and 14 of the ’417

           Patent;

       3. Micron has willfully infringed Claim 16 of the ’912 Patent;

       4. Micron has willfully infringed one or more of Claims 1, 2, 8, 11, 12, 13, and 14 of

           the ’417 Patent;

       5. Netlist is hereby awarded damages from and against Micron and shall accordingly have

           and recover from Micron the sum of $425,000,000.00 U.S. Dollars in the form of a

           running royalty for Micron’s infringement of the ’912 Patent;
Case 2:22-cv-00294-JRG Document 151 Filed 07/11/24 Page 3 of 4 PageID #: 8085




        6. Netlist is hereby awarded damages from and against Micron and shall accordingly have

             and recover from Micron the sum of $20,000,000.00 U.S. Dollars in the form of a

             running royalty for Micron’s infringement of the ’417 Patent;

        7. Pursuant to Federal Rule of Civil Procedure 54(d), Local Rule CV-54, and 28 U.S.C.

             § 1920, Netlist is the prevailing party in this case and shall recover its costs from

             Micron, and Netlist is directed to file its proposed Bill of Costs;

        8. Notwithstanding the jury’s finding of willfulness, the Court having considered the

             totality of the circumstances together with the material benefit of having presided

             throughout the jury trial and having seen the same evidence and heard the same

             arguments as the jury, and mindful that enhancement is generally reserved for

             “egregious cases of culpable behavior,” 1 concludes that enhancement of the

             compensatory award herein is not warranted under 35 U.S.C. § 284 and consequently,

             the Court elects not to enhance the damages awarded herein;

        9. Pursuant to 35 U.S.C. § 284 and Supreme Court guidance that “prejudgment interest

             should ordinarily be awarded absent some justification for withholding such an award,”

             the Court awards pre-judgment interest applicable to all sums awarded herein,

             calculated at the 5-year U.S. Treasury Bill rate, compounded quarterly, from the date

             of infringement through the date of entry of this Judgment; 2 and

        10. Pursuant to 28 U.S.C. § 1961, the Court awards post-judgment interest applicable to all

             sums awarded herein, at the statutory rate, from the date of entry of this Judgment until

             paid.



1
 Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 106 (2016).
2
  See Nickson Indus., Inc. v. Rol Mfg. Co., Ltd., 847 F.2d 795, 800–801 (Fed. Cir. 1988). The Court finds Micron’s
arguments against an award of prejudment interest unavailing. (See Dkt. No. 147.)
Case 2:22-cv-00294-JRG Document 151 Filed 07/11/24 Page 4 of 4 PageID #: 8086




       Any request for relief pursuant to 35 U.S.C. § 285 must be filed as a subsequent motion

herein within 28 days of this Judgment. All other relief requested by either party which is now

pending before the Court and not specifically awarded herein is DENIED.

      So ORDERED and SIGNED this 10th day of July, 2024.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
